Case 3:18-cv-02000-AJB-NLS Document 10 Filed 02/07/19 PageID.124 Page 1 of 3



 1   Christopher W. Arledge (Bar No. 200767)
     Email: carledge@onellp.com
 2   Jenny S. Kim (Bar No. 282562)
     Email: jkim@onellp.com
 3   ONE LLP
     4000 MacArthur Blvd.
 4   East Tower, Suite 500
     Newport Beach, CA 92660
 5   Telephone: (949) 502-2870
     Facsimile: (949) 258-5081
 6
 7   Attorneys for Defendant,
     Helix Environmental and Strategic Solutions
 8
 9
10                       UNITED STATES DISTRICT COURT
11                    SOUTHERN DISTRICT OF CALIFORNIA
12
13   HELIX ENVIRONMENTAL                       Case No. 18-cv-02000-AJB-NLS
     PLANNING, INC., a California
14
     corporation,                              NOTICE OF APPEARANCE –
15                                             JENNY S. KIM
                 Plaintiff,
16
17         v.
18
     HELIX ENVIRONMENTAL AND
19   STRATEGIC SOLUTIONS, a California
     corporation,
20
21               Defendant.
22
23
24
25
26
27
28

                                                               18-cv-02000-AJB-NLS
Case 3:18-cv-02000-AJB-NLS Document 10 Filed 02/07/19 PageID.125 Page 2 of 3



 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that Jenny S. Kim of One LLP hereby enters her
 3   appearance as counsel of record for Defendant Helix Environmental and Strategic
 4   Solutions. Ms. Kim’s contact information is as follows:
 5
                                       Jenny S. Kim
 6
                                          One LLP
 7                                 4000 MacArthur Blvd.
                                   East Tower, Suite 500
 8
                                 Newport Beach, CA 92660
 9                               Telephone: (949) 502-2870
                                 Facsimile: (949) 258-5081
10
                                  Email: jkim@onellp.com
11
12
13   Dated: February 7, 2019               ONE LLP
14
                                          By: /s/ Jenny S. Kim
15
                                              Jenny S. Kim
16                                            Christopher W. Arledge
                                              Attorneys for Defendant,
17                                            Helix Environmental and Strategic
                                              Solutions
18
19
20
21
22
23
24
25
26
27
28

                                             -1-                  18-cv-02000-AJB-NLS
Case 3:18-cv-02000-AJB-NLS Document 10 Filed 02/07/19 PageID.126 Page 3 of 3



 1                            CERTIFICATE OF SERVICE
 2         I certify that on February 7, 2019, the foregoing document was electronically
 3   filed with the Clerk of the Court using the CM/ECF system, which will send
 4   electronic notification of such filing to the CM/ECF participant(s) noted below:
 5
 6   Gary L. Eastman                          Christopher W. Arledge
     EASTMAN & MCCARTNEY, LLP                 One LLP
 7   401 West A Street, Suite 1785            4000 MacArthur Blvd.
     San Diego, CA 92101                      East Tower, Suite 500
 8   Email: gary@eastmanmccartney.com         Newport Beach, CA 92660
                                              Email: carledge@onellp.com
 9   Attorneys for Plaintiff,
     Helix Environmental Planning, Inc.       Attorney for Defendant Helix
10                                            Environmental and Strategic Solutions
11
12
13                                             /s/ Jenny S. Kim
                                               Jenny S. Kim
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                             -2-                     18-cv-02000-AJB-NLS
